                 Case 22-2908, Document 32,
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                             UNITED STATES COURT OF APPEALS
                                        FOR THE
                                     SECOND CIRCUIT

             At a Stated Term of the United States Court of Appeals for the Second Circuit, held at the
      Thurgood Marshall United States Courthouse, 40 Foley Square, in the City of New York, on the
      15th day of November, two thousand twenty-two.

      Before:     Robert D. Sack,
                  Richard C. Wesley,
                  Joseph F. Bianco,
                         Circuit Judges,
      ________________________________

       Ivan Antonyuk, Corey Johnson, Alfred
       Terrille, Joseph Mann, Leslie Leman,              ORDER
       Lawrence Sloane,
                                                         Docket No. 22-2908
                         Plaintiffs - Appellees,

       v.

       Steven A. Nigrelli, in his Official Capacity as
       Acting Superintendent of the NewYork State
       Police, Matthew J. Doran, in his Official
       Capacity as the Licensing Official of
       Onondaga County,

                      Defendants – Appellants.
       ________________________________

              Defendants-Appellants seek a stay pending appeal, and an emergency interim stay, of the
      preliminary injunction issued by the district court on November 7, 2022.

             IT IS HEREBY ORDERED that a temporary stay is granted pending the panel’s
      consideration of the motion.

                                                          For the Court:
                                                          Catherine O’Hagan Wolfe,
                                                          Clerk of Court




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